Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 1 of 14 PageID #: 1
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 2 of 14 PageID #: 2
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 3 of 14 PageID #: 3
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 4 of 14 PageID #: 4
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 5 of 14 PageID #: 5
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 6 of 14 PageID #: 6
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 7 of 14 PageID #: 7
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 8 of 14 PageID #: 8
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 9 of 14 PageID #: 9
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 10 of 14 PageID #: 10
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 11 of 14 PageID #: 11
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 12 of 14 PageID #: 12
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 13 of 14 PageID #: 13
Case 1:21-cv-00579-LPS Document 1 Filed 04/26/21 Page 14 of 14 PageID #: 14
